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                JON RYAN SCHAFFER
                                                                                    21-CR-306 (APM)

                                                                                     26074-509

                                                                       Marc Victor and Andrew Marcantel



                             1 and 2 of the Information filed on April 16, 2021




18 U.S.C. 1512(c)(2)      Obstruction of an Official Proceeding                            1/6/2021              1

18 U.S.C. 1752(a)(1) and (b)(1)(A)
                           Entering and Remaining in a Restricted Building or Grounds      1/6/2021              2

(b)(1)(A)                 with a Deadly or Dangerous Weapon

                                                                   6




                                                                                        10/25/2024




                                                                              Amit P. Mehta, US District Judge
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                                                                                               2   6
               JON RYAN SCHAFFER
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Thirty-Six (36) months as to counts 1 and 2, to run concurrently.
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                                                              3       6
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                                                                                                            4             6
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Financial Information Disclosure - You must provide the probation officer access to any requested financial information and
authorize the release of any financial information. The probation office may share financial information with the United
States Attorney’s Office.

Community Service - You must complete 120 hours of community service within 36 months. The probation officer will
supervise the participation in the program by approving the program. You must provide written verification of completed
hours to the probation officer.

Financial Obligation - You must pay the balance of restitution owed at a rate of no less than $50.00 each month. The
balance of restitution must be paid by the end of your term of supervision.

This Court will maintain jurisdiction of this case but transfers supervision to the district of residence
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                                                                                           5     6
                 JON RYAN SCHAFFER
                   21-CR-306 (APM)




                 200.00                 1,000.00




Clerk of the Court of the United States

District Court for the District of Columbia
for disbursement to the following victim



Architect of the Capitol                                                     $1,000.00
Office of the Chief Financial Officer
Ford House Office Building, Room H2-205B

Washington, DC 20515




                                                   0.00                 1,000.00
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                                                                                                    6             6
       JON RYAN SCHAFFER
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                        1,200.00




The financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333
Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk
of the Court of the change until such time as the financial obligation is paid in full. See Page 5 for payment details
of restitution.
